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 3
                               UNITED STATES DISTRICT COURT
 4
                              CENTRAL DISTRICT OF CALIFORNIA
 5
                                    SANTA ANA DIVSION
 6
 7
 8                                                 Case No.: 8:19-cv-01063-DOC-KES
      Jeff Buchanan,
 9                                                 ORDER [20]
10                     Plaintiff,
11          vs.
12 Capital One Bank (USA) N.A.,
13
                       Defendant.
14
15
16          Based on the Stipulation of counsel, the case is dismissed with prejudice,
17 each party to bear its own attorney fees and costs.
18
         October 18, 2019
19 Date:____________                               _________________________
                                                   David O. Carter
20                                                 U.S. District Judge
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      8:19-cv-01063-DOC-KES                                                ORDER
